                 UNITED STATES DISTRICT COURT
                MIDDLE DISTRICT OF PENNSYLVANIA



DENNIS ROSS and ANGELA
SCHUH, on behalf of themselves and
all others similarly situated,

                       Plaintiffs,

     v.

COMMUNITY HEALTH SYSTEMS,
INC., CHSPSC, LLC, WILKES-
BARRE HOSPITAL COMPANY,                    Civil Action No.: 3:23-cv-02128
LLC, d/b/a COMMONWEALTH
HEALTH, MOSES TAYLOR
HOSPITAL, REGIONAL HOSPITAL
OF SCRANTON, SCRANTON
HOSPITAL COMPANY, LLC, and
WILKES-BARRE GENERAL
HOSPITAL,

                       Defendants.


BRIEF IN SUPPORT OF MOTION TO STAY DEADLINE TO RESPOND
TO COMPLAINT BY DEFENDANTS CHSPSC, LLC, WILKES-BARRE
 HOSPITAL COMPANY, LLC, D/B/A COMMONWEALTH HEALTH,
MOSES TAYLOR HOSPITAL, REGIONAL HOSPITAL OF SCRANTON,
  SCRANTON HOSPITAL COMPANY, LLC, AND WILKES-BARRE
                   GENERAL HOSPITAL

     Defendants CHSPSC, LLC, Wilkes-Barre Hospital Company, LLC, d/b/a

Commonwealth Health, Moses Taylor Hospital, Regional Hospital of Scranton,


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Scranton Hospital Company, LLC, and Wilkes-Barre General Hospital (collectively,

“Defendants”), respectfully submit this Brief in Support of their Motion to Stay the

Deadline to Respond to Plaintiffs’ Complaint, pending the outcome of a Motion for

Transfer to Multi-District Litigation (“MDL”).

                                   INTRODUCTION

      There is currently a proceeding before the U.S. Judicial Panel on Multidistrict

Litigation (“JPML”) where a Motion for Transfer and Centralization was filed on

October 16, 2023, to the District of Minnesota pursuant to 28 U.S.C. § 1407. See

Skurauskis, v. NationsBenefits Holdings, LLC, Case No. 0:2023cv60830; In Re

Fortra File Transfer Software Data Security Breach Litigation, MDL No. 3090. The

granting of this motion would necessarily impact this case.     The current lawsuit

against Defendants relates to a data security incident of Fortra, LLC’s GoAnywhere

managed file platform (the “Fortra Incident” or “Incident”). Fortra has been sued in

the State of Minnesota due to the Incident. Additionally, numerous customers of

Fortra (including Defendant CHSPSC) have been sued around the country as a result

of the Incident. If granted, the motion to consolidate these cases in MDL would lead

to the transfer of all of these matters to one consolidated docket in Minnesota. To

preserve the resources of the Court and the parties, the instant matter should be

stayed pending the outcome of that motion.




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                           FACTUAL BACKGROUND

A.    Plaintiff’s Allegations

      This action arises out of a data security incident involving the unauthorized

access to Fortra’s GoAnywhere MFT software. (Compl. ¶¶ 53-56). Plaintiffs are

Pennsylvania citizens and allege that they were patients at one or more Defendant

hospitals in Pennsylvania. (Id., ¶¶ 10-11). Plaintiffs allege that on or about March

24, 2023, they received a notice from CHSPSC of the Fortra Incident. (Id., ¶ 61).

      Plaintiffs allege that as a result of the Incident, they “will continue to be at a

heightened and certainly impending risk for fraud and identity theft, and their

attendant damages for years to come.” (Id., ¶ 12). On this scant basis, and without

articulating any actual harm or loss, Plaintiffs seek to proceed with a class action in

this matter. In his original Complaint filed in the Eastern District of Pennsylvania,

Plaintiff Ross stated an intention to seek a nationwide class. The present Complaint

seeks to pursue the following class:

             All individuals:
             (1) whose PII and/or PHI was collected or maintained in
                 Pennsylvania       by   CHS,      CHSPSC,       WBHC,
                 Commonwealth Health, Moses Taylor Hospital,
                 Regional Hospital of Scranton, Scranton Hospital
                 Company, and/or Wilkes-Barre General Hospital, and,
             (2) whose PII and/or PHI was compromised in the Data
                 Breach that occurred between on or about January 28
                 and January 30, 2023 or to whom any Defendant sent a
                 letter, to a mailing address in Pennsylvania, to inform
                 of a data breach concerning his/her/their respective PII
                 and/or PHI. (the “Class”).
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(Compl. ¶ 99).

B.    The Fortra Incident and CHSPSC’s Response to the Fortra Incident.

      The Fortra Incident occurred between January 28 and January 30, 2023, when

Fortra discovered that an unauthorized third-party gained access to its GoAnywhere

MFT software, compromising sets of files throughout the file transfer platform.

(Compl. ¶¶ 53-56). CHSPSC is but one of many customers impacted by this event.

      CHSPSC is a customer of Fortra. (Baldwin Decl. ¶ 12). Fortra is the developer

of the GoAnywhere secure file transfer platform. (Id). CHSPSC chose Fortra as its

vendor for data security because, given the ever-growing problem of foreign threat

actors and their evolving techniques in hacking computer systems, CHSPSC deemed

it prudent to retain an industry leader for its secure file transfer platform. (Id ¶ 13).

Fortra is based in the State of Minnesota. (Id., ¶ 14). Fortra’s GoAnywhere software

is “SOC 2 compliant,” meaning that the platform has undergone rigorous audits to

ensure it has implemented a high degree of cybersecurity safeguards. (Id., ¶ 16). But

between January 28 and 30, 2023, cybercriminals began to attack the Fortra

platform, leveraging what are known as “zero-day” exploits. (Id., ¶ 17). A zero-day

exploit is a cyberattack vector or technique that takes advantage of an unknown or

unaddressed security flaw in computer software, hardware, or firmware. ‘Zero day’

refers to the fact that the software or device vendor has zero days, or no time, to fix

the flaw, because malicious actors can already use it to gain access to vulnerable
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systems. See https://www.ibm.com/topics/zero-day.

C.    One of Fortra’s Customers Files a Motion to Transfer All Related Cases
      to MDL.
      Nations Benefits was one of Fortra’s customers impacted by the breach. On

October 16, 2023, Nations Benefits filed a Motion for Transfer and Centralization

of Related Actions to the District of Minnesota Pursuant to 28 U.S.C. § 1407 for

Consolidated Pretrial Proceedings. A copy of that entity’s motion is attached hereto

as Exhibit 1. A copy of their brief in support of their motion is attached as Exhibit

2. A copy of the Schedule of Actions submitted by Nations Benefits with its motion

is attached as Exhibit 3. As that Schedule reflects, there are currently (at least) forty-

six actions pending related to the Fortra breach.

 ARGUMENT – ALL DEADLINES IN THIS CASE SHOULD BE STAYED.

      Defendant moves this Court to stay all deadlines in this case until a ruling is

made on whether this case will be transferred to the In Re Fortra Multidistrict

Litigation docket.

      This is one of nine cases filed against Defendants arising out of the data

security incident involving Fortra, LLC’s GoAnywhere managed file transfer

software that occurred on or around January 28th to 30th, 2023 (the “Fortra Incident”).

Eight cases were filed against Defendant related to the Fortra Incident in the Middle

District of Tennessee. These cases were consolidated on May 19, 2023, including:



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              Kuffrey v. Community Health Systems,               Inc.,   Case   No.
               3:2023cv00285, filed March 28, 2023
              Martin v. Community Health Systems,                Inc.,   Case   No.
               3:2023cv00354, filed April 14, 2023
              Gatti v. CHSPSC, LLC, Case No. 3:2023cv00371, filed April 20,
               2023
              Casella v. CHSPSC, LLC, Case No. 3:2023cv00396, filed April 21,
               2023
              Tatum et al v. CHSPSC, LLC, Case No. 3:2023cv00420, filed April
               26, 2023
              Ferguson v. Community Health Systems, Inc., Case No.
               3:2023cv00443, filed May 3, 2023
              McGowan v. Community Health Systems, Inc., Case No.
               3:2023cv00520, filed May 22, 2023
              Underwood v. Community Health Systems, Inc., Case No.
               3:2023cv00565, filed June 2, 2023

      On June 26, 2023, Plaintiff Ross filed Ross v. Community Health Systems,

Inc., Case No. 3:2023cv00443, also arising from the Fortra Incident. Ross was filed

almost three months after Kuffrey and more than a month after the other cases against

Defendants were consolidated in the Middle District of Tennessee before Chief

Judge Waverly Crenshaw. Plaintiff Ross voluntarily dismissed on December 4,

2023, and refiled the current case.

      There is currently a proceeding before the U.S. Judicial Panel on Multidistrict

Litigation (“JPML”) where a Motion for Transfer and Centralization was filed on

October 16, 2023, to the District of Minnesota pursuant to 28 U.S.C. § 1407. See

Skurauskis, v. NationsBenefits Holdings, LLC, Case No. 0:2023cv60830; In Re
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Fortra File Transfer Software Data Security Breach Litigation, MDL No. 3090.

Counsel in Skurauskis, v. NationsBenefits Holdings have identified the cases against

Defendants Community Health Systems and CHSPSC as related cases arising from

the Fortra Incident. Community Health Systems and CHSPSC plan to support the

transfer request. A hearing on this motion is set to occur on January 25, 2024. See In

Re Fortra File Transfer Software Data Security Breach Litigation, MDL No. 3090,

ECF 78. If the JPML grants the transfer request, this case and the related

consolidated cases against Defendants would be transferred to the In Re Fortra MDL

docket in the District of Minnesota. In the event the JPML denies the transfer

request, Defendants intend to file a motion to transfer the current case to the Middle

District of Tennessee so that it may be consolidated with the other related cases.

      “[T]he power to stay an action is ‘incidental’ to a court’s ‘inherent’ power.”

Sheetz v. Kares, 534 F. Supp. 278, 279 (E.D. Pa. 1982) (quoting Landis v. N. Am.

Co., 299 U.S. 248, 254, 57 S. Ct. 163, 81 L. Ed. 153 (1936)). Such a decision is

“left to the trial court’s broad discretion, and call[s] for the exercise of the court's

judgment in ‘weigh[ing] competing interests and maintain[ing] an even balance.’”

Infinity Computer Prods. Inc. v. Brother Int'l Corp., No. 10-3175, 909 F. Supp. 2d

415, 2012 U.S. Dist. LEXIS 179733, 2012 WL 6619200, at *4 (E.D. Pa. Nov. 16,

2012) (quoting Landis, 299 U.S. at 254-55)). In considering whether to grant a

motion to stay, district courts are to evaluate: “(1) the length of the requested stay;


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(2) the hardship that the movant would face if the stay was not granted; (3) the injury

that a stay would inflict on the non-movant; and (4) whether granting a stay would

streamline   the proceedings by    simplifying    issues   and   promoting     judicial

economy.” Vasvari v. Rite Aid Corp., No. 09-2069, 2010 U.S. Dist. LEXIS 86361,

2010 WL 3328210, at *2 (M.D. Pa. Aug. 23, 2010) (citing Landis, 299 U.S. at 254-

55) (emphasis added).

      There can be no serious dispute that staying this case would simplify issues

and promote judicial economy. For starters, there is already a first-filed consolidated

putative class action pending in Tennessee that overlaps with the instant matter.

Even if the motion for transfer to MDL was not currently pending, there is a strong

basis for transferring this matter to Tennessee. Now that all of the Fortra-related

cases may be transferred to MDL, this matter should be stayed, pending the outcome

of that motion. The consolidated case in Tennessee against CHSI and CHSPSC was

stayed pending resolution of the transfer to MDL on November 9, 2023. Indeed,

these cases seem like a poster child for why the MDL process exists. The Fortra

breach impacted dozens of that company’s customers. Many of those customers

(such as CHSPSC) have been sued due to events related to that breach. This is

precisely the scenario for which the MDL process was intended – i.e., complex

multiparty litigation across multiple jurisdictions.       To avoid the unnecessary




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expenditure of judicial resources, this matter should be stayed pending the outcome

of the current motion to initiate MDL proceedings.

                                 CONCLUSION

      For the foregoing reasons, Defendant respectfully moves this Court to stay all

responsive pleading deadlines pending the outcome of the motion to consolidate all

Fortra related cases in MDL.

                                             Respectfully submitted,

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                                             Moses Taylor Hospital, Regional
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                            Hospital of Scranton, Scranton
                            Hospital Company, LLC, and Wilkes-
                            Barre General Hospital


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